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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION

DAVID SHAWN MINZE,                   §
            Petitioner,              §
                                     §
v.                                   § Civil Action No. 4:22-cv-484-P
                                     §
BOBBY LUMPKIN, Director,             §
Texas Department of Criminal Justice,§
Correctional Institutions Division,  §
                  Respondent.        §

          RESPONDENT’S ANSWER WITH BRIEF IN SUPPORT

      In this habeas corpus case brought under the Antiterrorism and

Effective Death Penalty Act (AEDPA), 28 U.S.C. §§ 2241, 2254, Texas state

prisoner David Shawn Minze challenges his enhanced conviction for family

violence assault and corresponding seventy-year-sentence. The petition should

be dismissed with prejudice as partially procedurally defaulted and without

merit.

                               JURISDICTION

      Minze seeks habeas corpus relief in this Court pursuant to 28 U.S.C. §

2254, providing the Court with jurisdiction over the subject matter and the

parties as Minze was convicted in Parker County, Texas. 28 U.S.C. § 124(a)(2).

                        PETITIONER’S ALLEGATIONS

      Respondent Bobby Lumpkin (the Director) understands Minze to allege

the following:
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      (1)   His Sixth and Fourteenth Amendment rights to a fair and
            impartial jury were violated when a juror with actual bias or
            prejudice was empaneled to the jury; and

      (2)   His trial attorney was ineffective for failing to challenge the juror
            for cause due to actual bias or prejudice.

ECF No. 1 at 6; ECF No. 2 at 1–12.

                              GENERAL DENIAL

      The Director denies all of Minze’s assertions of fact except those

supported by the record or specifically admitted herein.

                         STATEMENT OF THE CASE

I.    Procedural History

      The Director has lawful custody of Minze pursuant to a judgment and

sentence from the 43rd District Court of Parker County, Texas, in Cause

Number CR19-0264. SHCR at 8–9.1 Minze was charged by indictment with

family violence assault, enhanced with a prior conviction for family violence

(Cause No. 1415787); the indictment alleged further enhancements for Minze’s

prior convictions of forgery (Cause No. CR12-0132) and burglary of a habitation

(Cause No. 14,776). Id. at 6–7. Minze pleaded not guilty to the charge, but true




1 “SHCR” refers to the Clerk’s Record for Minze’s state habeas proceeding, Ex parte

Minze, No. WR-93,404, followed by the relevant page number(s). “RR” refers to the
Reporter’s Record, or transcript of the trial proceeding, preceded by the volume
number, and followed by the relevant page number(s).

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to the enhancements, then a jury found him guilty as charged in the indictment

and sentenced him to seventy-years of imprisonment. Id. at 8–9.

      Minze appealed, claiming the trial court erred by admitting extraneous

offenses into evidence, but on May 20, 2021, the Second Court of Appeals of

Texas affirmed Minze’s conviction. Minze v. State, No. 02-19-00303-CR, 2021

WL 2006474 (Tex. App.—Ft. Worth, May 20, 2021, no pet.). Minze did not file

a petition for discretionary review with the Texas Court of Criminal Appeals

(TCCA). Id.

      On November 8, 2021, Minze signed his state habeas application

challenging his conviction, which the Parker County Clerk filed on November

15, 2021. SHCR at 10, 25. On February 2, 2022, the TCCA denied the state

habeas application without written order on the findings of the trial court and

upon an independent review of the record. SHCR at action taken sheet, 278–

87 (Memorandum, Findings of Fact, and Conclusions of Law). Minze filed this

federal petition on May 30, 2022. ECF No. 1 at 10; Cousin v. Lensing, 310 F.3d

843, 847 (5th Cir. 2002) (pro se prisoner’s habeas petition deemed filed when

delivered to prison authorities for mailing); Spotville v. Cain, 149 F.3d 374, 375

(5th Cir. 1998).




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II.   Statement of Facts

      The Director adopts the following facts from the appellate opinion of the

Second Court of Appeals:

      In 2015, Minze and Wendy Young met and began a romantic
      relationship. However, at some point their relationship soured and
      by 2018, Wendy was attempting to keep Minze away from their
      home and children because as she explained, “He couldn’t be
      around me and my kids if he wasn’t going to stay sober.”

      According to Wendy, on December 23, 2018, Minze entered their
      home and told her that he hated her for not allowing him to spend
      time with his children. He then beat Wendy with his belt on her
      arms, torso, and legs and used a shirt to strangle her until she
      passed out. Just before Wendy blacked out, Minze told her “[b]ye-
      bye.”

      At some point, Minze shook Wendy awake and told her “I’m going
      to put this on you before we leave.” Wendy saw Minze heat up his
      belt buckle with a cigarette lighter. Minze then branded Wendy’s
      buttock with the heated belt buckle. Wendy described the pain
      from the branding as “excruciating,” and testified that during this
      ordeal, she feared that Minze was going to kill her.

      Minze also destroyed Wendy’s bras, underwear, and some of her
      shirts by cutting them up with scissors. Finally, he broke Wendy’s
      cell phone.

      Wendy testified that this incident was not the first time that Minze
      had physically assaulted her, and she explained that the reason
      she did not immediately call police and report the assault on this
      occasion was because when she had done so in the past, the police
      had not helped her. One such assault in the past occurred in 2015,
      when Minze gave Wendy a bloody nose by punching her in the face
      because he thought that she was looking at another man. While
      Minze was convicted for the 2015 assault, Wendy provided other
      examples where the police had failed to help her after she reported

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     assaults by Minze. For instance, in 2017, Minze smothered Wendy
     with a pillow at least five times, and although Wendy reported this
     incident to police, Minze was never prosecuted. And in 2018, Minze
     filled the bathtub in Wendy’s home with water and threatened to
     hold her head under the water unless she gave him her car. Wendy
     also reported this incident to police, but they told her that they
     could not do anything to help her.

     Wendy reached out to the police again in 2018 after Minze sent her
     a video of himself camping in the trees across from her home. In
     the video, Minze zoomed in on her front door and her car. Wendy
     could hear Minze’s breathing in the video. The police made a report
     of the incident but again took no other action.

     During trial, the State called a police officer to testify that Minze’s
     fingerprints matched those on the 2015 conviction for assault
     involving family violence. After the officer testified that the
     fingerprints on the 2015 judgment came from Minze, the State
     offered the 2015 conviction into evidence. Minze objected that the
     admission of the prior conviction violated Texas Rules of Evidence
     401 and 403 and that it also violated his due process rights. The
     trial court overruled Minze’s objections and admitted the exhibit
     containing the 2015 judgment.

     On direct examination, the State also attempted to elicit testimony
     from Wendy regarding Minze’s 2015 assault. Again, Minze argued
     that Wendy’s testimony about the prior offense was “irrelevant
     under 401, under 403, and a violation of due process.” The trial
     court overruled Minze’s objections. But when Wendy testified
     further about the 2015 beating she sustained from Minze, Minze
     lodged no further objections.

     The jury subsequently found Minze guilty of the 2018 assault of
     Wendy, including the allegation that Minze had been previously
     convicted of assault involving family violence in 2015. After Minze
     pleaded true to the two punishment enhancement convictions, the
     jury assessed his sentence at 70 years’ confinement.

See Minze, 2021 WL 2006474, at *1–2.

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                          STATE COURT RECORDS

      The Director is electronically filing copies of the records for Minze’s trial,

direct appeal, and state habeas proceeding to this Court, along with this

answer.

          EXHAUSTION/LIMITATIONS/SUCCESSIVE PETITION

      The Director does not believe that Minze’s petition is untimely under 28

U.S.C. § 2244(d), is subject to the successive petition bar under 28 U.S.C. §

2244(b), or is unexhausted under 28 U.S.C. §2254(b)(1). However, the Director

reserves all defenses, should Minze or this Court disagree with the Director’s

construction of the claims or should Minze add new claims.

                                    ANSWER

I.    AEDPA’s Standard of Review

      Minze’s claims in this federal proceeding were presented to the TCCA,

which denied the claims without written order on the findings of the trial court

and upon an independent review of the record. SHCR at action taken sheet,

15– 17, 278–87. The TCCA’s denial of habeas relief is afforded deference under

AEDPA.

      Section 2254(d) defines habeas corpus as a guard against extreme

malfunctions in state criminal justice systems, not as a substitute for ordinary

error correction through appeal. For claims adjudicated in state court, §

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2254(d) imposes a highly deferential standard that demands a federal court

grant habeas relief only where one of two conditions are present in the state

court judgment. A federal court may grant relief if the state court adjudicated

a constitutional claim contrary to, or unreasonably applied clearly established

federal law as determined by the Supreme Court. Harrington v. Richter, 562

U.S. 86, 100–01 (2011) (citing (Terry) Williams v. Taylor, 529 U.S. 362, 412

(2002)). Or the court may grant relief if the state court based its decision on an

unreasonable determination of facts in light of the record. Id.’s standard is

necessarily difficult to meet because it was so designed.

      A state court decision can be “contrary” to established federal law in two

ways: (1) If the state court applies a rule that contradicts Supreme Court

precedent;   or   (2)   If   the   state       court   confronts   facts   “materially

indistinguishable” from relevant Supreme Court precedent, but reaches an

opposite result. (Terry) Williams, 529 U.S. at 405–06. A state court decision

applying correct Supreme Court law to the facts of a particular case must be

reviewed under the “unreasonable application” clause. (Terry) Williams, 529

U.S. at 406. A state court unreasonably applies Supreme Court precedent only

if it correctly identifies the governing precedent but unreasonably applies it to

the facts of a particular case. Id. at 407–09. The Court should focus not on the

state court’s method of reasoning, but rather on its ultimate legal conclusion.

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Neal v. Puckett, 286 F.3d 230, 246 (5th Cir. 2002)) (“It seems clear to us that a

federal habeas court is authorized by Section 2254(d) to review only a state

court’s ‘decision,’ and not the written opinion explaining that decision.”).

      To decide if the state court made an unreasonable application, this Court

“must determine what arguments or theories supported or . . . could have

supported, the state court’s decision; and then it must ask whether it is possible

fairminded jurists could disagree that those arguments or theories are

inconsistent with the holding in a prior decision of this Court.” Richter, 562

U.S. at 87. Thus, “a state court’s determination that a claim lacks merit

precludes federal habeas relief so long as ‘fairminded jurists could disagree’”

on the correctness of the state court’s decision. Id. (quoting Yarborough v.

Alvarado, 541 U.S. 652, 664 (2004)). Plus, a review of a state court’s merits

adjudication for reasonableness must be limited to the record that was before

the state court. § 2254(d)(2); Cullen v. Pinholster, 563 U.S. 170, 181 (2011).

      Finally, an evidentiary hearing is precluded unless: (1) a petitioner’s

claims rely on a new rule of constitutional law or a factual predicate previously

undiscoverable through the exercise of due diligence; and (2) the petitioner

establishes by clear and convincing evidence that, but for constitutional error,

no reasonable factfinder would have found him guilty. 28 U.S.C. § 2254(e)(2).

A failure to meet this standard of “diligence” will bar a federal evidentiary

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hearing in the absence of a convincing claim of actual innocence that can only

be established by newly discovered evidence. (Michael) Williams v. Taylor, 529

U.S. 420, 436 (2000). For example, a petitioner’s failure to present

controverted, previously unresolved factual issues to the state court can qualify

as a “failure” under the plain meaning of § 2254(e)(2). Id. at 433. However,

Section 2254(e)(2) has “force [only] where § 2254(d)(1) does not bar federal

habeas relief.” Pinholster, 563 U.S. at 185.

      Accordingly, even if a petitioner can leap the § 2254(e)(2) hurdle,

“evidence introduced in federal court has no bearing on § 2254(d)(1) review.”

Id. at 1400. And whatever discretion remains after Pinholster to hold an

evidentiary hearing, it is still appropriate to deny such a hearing if sufficient

facts exist to make an informed decision on the merits. Schriro v. Landrigan,

550 U.S. 465, 474–75 (2007). As the Supreme Court recently found, “even if all

of these requirements are satisfied, a federal habeas court still is not required

to hold a hearing or take any evidence. . . . the decision to permit new evidence

must be informed by principles of comity and finality that govern every federal

habeas case.” Shinn v. Martinez Ramirez, 142 S. Ct. 1718, 1734 (2022)

(emphasis added). Furthermore, this Court, when considering any request for

discovery, must “determine at the outset whether the new evidence sought

could be lawfully considered,” particularly under § 2254(d)(1). Shoop v.

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Twyford, 142 S. Ct. 2037, 2044 (2022). Minze has not met these standards for

a hearing or discovery, and any such request should be denied.

II.   Minze Fails to Overcome the State Court’s Independent Procedural Bar.
      Alternatively, He Has Not Met Her Burden under AEDPA.

      Minze asserts that his right to a fair and impartial jury was violated

when a member of his jury was not struck for actual bias or prejudice. ECF No.

1 at 6. However, Minze has not overcome the TCCA’s independent state

procedural bar, and alternatively, Minze has not demonstrated that the denial

of this claim was unreasonable or an incorrect application of clearly established

Supreme Court law under AEDPA.

      A.    Minze has not overcome the independent and adequate state
            procedural bar against this claim.

      Minze raised this claim before the TCCA. SHCR at 15. The state habeas

court applied an independent state procedural bar, finding that Minze had not

properly preserved error by failing to make a contemporaneous objection to the

alleged error and that he failed to raise the error on direct appeal. SHCR at

action taken sheet, 94–95 (State’s answer), 281 (Finding Nos. 8 and 14), 285

(Conclusion No. 1). This was an independent and adequate state procedural

bar that prevents Minze from receiving federal habeas relief for this claim.

      Relying on TCCA case law, the State asserted that Minze’s claim

regarding the trial court’s alleged failure to remove a partial juror was

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procedurally barred because: (1) he failed to make a contemporaneous objection

(Ex parte Crispen, 777 S.W.3d 103, 105 (Tex. Crim. App. 1989)); and (2) he

failed to raise the issue on direct appeal (Ex parte Gardner, 959 S.W..2d 189,

199 (Tex. Crim. App. 1996)). SHCR at 94–95. The state habeas court agreed,

finding that no objection or challenge for cause was made, and that because

Minze failed to raise the issue to the trial court and the appellate court on

direct appeal, the claim was barred from habeas review. SHCR at 281 (Finding

Nos. 8 and 14), 285 (Conclusion No. 1). The TCCA adopted these findings when

it denied relief. SHCR at action taken sheet.

      Even if the TCCA had not adopted the findings, the bar would still apply

to Minze’s claim. Because the state habeas court issued “the last reasoned

opinion” on the matter, its findings that expressly and unambiguously applied

the procedural bar are sufficient to bar federal habeas review. See Ylst v.

Nunnemaker, 501 U.S. 797, 801, 803 (1991); Leachman v. Stephens, 581 F.

App'x 390, 395–396 (5th Cir. 2014) (applying Ylst’s “look through” doctrine to

find default where point of error was defaulted under Texas’ contemporaneous

objection rule and also defaulted under Texas’ raised and rejected rule). 2 Minze

failed to timely object to, or strike for cause, the partial juror, and failed to



2 Unpublished opinions are persuasive authority. See Ballard v. Burton, 444 F.3d

391, 401 & n.7 (5th Cir. 2006) (citing 5th Cir. R. 47.5.4)).

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raise this issue on direct appeal. See Goodwin v. Collins, 910 F.2d 185 (5th Cir.

1990) (intermediate court of appeals is last state court rendering judgment

where the CCA then denies discretionary review); Styron v. Johnson, 262 F.3d

438, 453–54 (5th Cir. 2001) (Texas contemporaneous objection rule is sufficient

procedural default to bar federal habeas review); Smith v. Johnson, 216 F.3d

521, 523 (5th Cir. 2000) (“a federal court does not have license to question a

state court’s finding of procedural default, if based upon an adequate and

independent state ground”).

      A federal court may not grant a petition for a writ of habeas corpus where

the state court expressly denied the claim based on an independent and

adequate state procedural rule. Coleman v. Thompson, 501 U.S. 722, 730

(1991). To be adequate, a state rule must be “firmly established and regularly

followed.” Ford v. Georgia, 498 U.S. 411, 423–24 (1991). The Fifth Circuit has

found that Texas’ contemporaneous-objection rule is an “adequate and

independent state ground that procedurally bars” federal habeas relief. See

Fisher v. Texas, 169 F.3d 295, 301 (5th Cir. 1999) (citing Sharp v. Johnson, 107

F.3d 282, 285–86 (5th Cir. 1997); Nichols v. Scott, 69 F.3d 1255, 1280 n.48 (5th

Cir. 1995)). The objection rule is generally required because “appellate courts

will not consider any error which counsel for the accused could have called, but

did not call, to the attention of the trial court at the time when such error could

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have been avoided or corrected by the trial court.” Gibson v. State, 726 S.W.2d

129 (Tex. Crim. App. 1987). Minze did not timely raise this issue before the

trial court and the appellate court, and the state habeas proceeding was not

the proper avenue for making the challenge. SHCR at action taken sheet, 285.

Thus, Minze’s claim alleging the allegedly partial juror violated his right to a

fair and impartial jury is procedurally defaulted. Id.

      Moreover, where a state court has explicitly relied on a procedural bar,

a state prisoner may not obtain federal habeas corpus relief absent a showing

of cause for the default and actual prejudice that is attributable to the default,

or that the federal court’s failure to consider the claim will result in a

miscarriage of justice. Coleman, 501 U.S. at 750; Amos v. Scott, 61 F.3d 333,

338 (5th Cir. 1995). A miscarriage of justice in this context means that the

petitioner is actually innocent of the crime of which he was convicted. Sawyer

v. Whitley, 505 U.S. 333, 339–40 (1992); Finley v. Johnson, 243 F.3d 215, 220

(5th Cir. 2001). Thus, because the denial of Minze’s claim was based upon an

adequate and independent state procedural rule, his claim is procedurally

barred in a federal proceeding unless he can demonstrate cause his actual

innocence. Coleman, 501 U.S. at 750; Sawyer, 505 U.S. at 339–40.

      But Minze has failed to show cause and prejudice or that he is actually

innocent of the crime for which he was convicted. To establish the requisite

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probability that he was actually innocent, Minze must support his allegations

with new, reliable evidence that was not presented at trial and show that it

was ‘more likely than not that no reasonable juror would have convicted him

in the light of the new evidence.’” Id. at 221 (citations omitted). Minze fails to

make any such showing. ECF No. 1; ECF No. 2.

      Plus, the record indicates that there was ample evidence of Minze’s guilt

of family violence assault, and his prior family violence assault. Minze, 2021

WL 2006474, at *1–2. Furthermore, any argument that the state habeas

court’s alternative findings on the merits amounted to a waiver of the

independent-state-procedural-bar fails, as well. Amos, 61 F.3d at 341 (“We

decline today to impose on the TCCA the need to pronounce some shibboleth

or incant some magic words guaranteeing safe passage from a holding based

on a state procedural bar to an alternative holding on the merits without

infecting the opinion with “excuse” and thus dooming it to inadequacy.”).

Specifically, if the state court explicitly invokes a procedural bar and

alternatively reaches the merits of a defendant’s claims, a federal court is still

bound by the state procedural default. Id. at 338; Harris v. Reed, 489 U.S. 255,

264, n.10 (1989). In short, the state court’s alternative merits did not negate

the procedural bar. And because Minze has failed to show cause or prejudice




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for the default or an actual miscarriage of justice, his claim is procedurally

defaulted.

      B.     Alternatively, Minze Fails to Demonstrate the TCCA’s Decision
             Was Unreasonable or Based on the Incorrect Application of Clearly
             Established Supreme Court Law.

      As an alternative to being procedurally barred, Minze’s claim that the

trial court should not have impaneled a biased or prejudiced juror is also

without merit.

      First and most importantly, Minze has completely failed in meeting the

burden of proof necessary to overcome the relitigation bar and be granted relief

under AEDPA. The TCCA refused Minze relief on this allegation. SHCR at

action taken sheet, 281 (Finding Nos. 9 (the jury had not yet heard the law

regarding whether Minze’s prior convictions could or could not be considered

during guilt/innocence), 10 (“the juror did not state she would be unable to

follow the law or the court’s instructions,”), and 11 (the juror “displayed no bias

or prejudice against” Minze). To overcome AEDPA’s relitigation bar, Minze

must show that this decision “was contrary to, or involved an unreasonable

application of, clearly established Federal law, as determined by the Supreme

Court of the United States.” 28 U.S.C. § 2254(d)(1). Minze has merely

summarized the same allegations from his state application for writ of habeas

corpus in the instant petition and disagreed with the TCCA’s denial, without

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demonstrating an unreasonable application of federal law as determined by

the Supreme Court. ECF No. 1 at 6; ECF NO. 2 at 1–12. This is a mandatory

predicate that cannot be ignored and must be satisfied in order to warrant

relief. He has also failed to present clear and convincing evidence to rebut the

presumption of correctness afforded the state court findings. This presumption

is especially strong because the Honorable Craig Towson presided over both

the trial and state habeas proceeding. SHCR at 2, 8–9, 278–87; Miller-El v.

Johnson, 261 F.3d 445, 449, 454 (5th Cir. 2001) (citing Clark v. Johnson, 202

F.3d 760, 764, 766 (5th Cir. 2000)) (presumption of correctness especially

strong where the trial judge and the state habeas judge are the same). As such,

because Minze has failed to meet his heavier burden of proof and overcome the

relitigation bar, this court must deny relief.

      In any event, although Minze has failed to meet his burden of proof under

AEDPA, his allegations do not entitle him to relief. The Sixth Amendment,

made applicable to the states through the Due Process Clause of the

Fourteenth Amendment, guarantees that an accused shall enjoy the right to a

trial by an impartial jury. Parker v. Gladden, 385 U.S. 363, 364 (1966).

Further, a federal court must initially presume that a jury was impartial. U.S.

v. Ruggiero, 56 F.3d 647, 652 (5th Cir. 1995); De La Rosa v. Texas, 743 F.2d




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299, 306 (5th Cir. 1984). The court will not readily presume that a juror is

biased. Willie v. Maggio, 737 F.2d 1372, 1379 (5th Cir. 1984).

      It is also presumed that juries follow the instructions given to them by

the court. United States v. Olano, 507 U.S. 725, 739 (1993) (citing Richardson

v. Marsh, 481 U.S. 200, 206 (1987); Francis v. Franklin, 471 U.S. 307, 324 n. 9

(1985)); Soria v. Johnson, 207 F.3d 232, 242 (5th Cir. 2000). “[We] presum[e]

that jurors, conscious of the gravity of their task, attend closely the particular

language of the trial court’s instructions in a criminal case and strive to

understand, make sense of, and follow the instructions given them.” Olano, 507

U.S. at 739 (citing Francis, 471 U.S. at 324, n. 9)). Minze has not overcome

these presumptions in his case, specifically that: (1) his jury was impartial; (2)

the complained-of juror was prejudiced against him and subject to a challenge

for cause; and (3) the jury followed the law and instructions given to them. The

state habeas court specifically found that Minze’s prior conviction were

properly admitted as an element of the offense, which the jury could consider

(SHCR at 281–82 (Finding Nos. 9, 11, 12, 13, 15, and 17)) and that there was

no evidence the juror did not follow the law and instructions given by the trial

court (SHCR at 181 (Finding No. 10)).

      Because he has not met his burden to overcome these presumptions,

overcome the presumption of correctness given to the state court’s findings, or

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shown that the state court’s denial was unreasonable, his claims fail. Valdez

v. Cockrell, 274 F.3d 941, 948 n.11 (5th Cir. 2001); Olano, 507 U.S. at 739;

Willie, 737 F.2d at 1379; Ruggiero, 56 F.3d at 652. Minze’s claim is, therefore,

without merit in addition to being procedurally defaulted.

III.   Minze Has Failed to Demonstrate that the State Court’s Denial of His
       Strickland Claims Was Unreasonable.

       The Director understands Minze to assert that his trial counsel,

Harmony Schuerman, was ineffective for failing to challenge for cause a juror

who was allegedly prejudiced against Minze. ECF No. 1 at 6; ECF No. 2 at 3–

7. As the record shows, the state habeas court found that Schuerman was not

ineffective because the juror was not subject to be struck for cause and Minze

had not shown that the juror was actually partial. SHCR at 270–71, 274–75.

The TCCA relied upon these findings when it denied relief. Id. at action taken

sheet. Because Minze fails to meet his burden of proof under the doubly

deferential standard for the performance of his trial counsel, his claim is

without merit and should be denied.

       A defendant has the burden of establishing that he was deprived of

effective assistance of counsel by a preponderance of the evidence. Clark v.

Johnson, 227 F.3d 273, 284 (5th Cir. 2000). In Strickland v. Washington, the

Supreme Court enunciated the familiar two-prong test for reviewing



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ineffective-assistance-of-counsel claims. Strickland, 466 U.S. at 687. Under the

first prong of Strickland, a defendant must show by a preponderance of the

evidence that his trial counsel’s performance was deficient. Id. In other words,

Minze must establish that his counsel’s representation fell below an objective

standard of reasonableness. Clark, 227 F.3d at 282. This showing requires him

to prove that his counsel made “errors so serious that counsel was not

functioning as the ‘counsel’ guaranteed the defendant by the Sixth

Amendment.” Strickland, 466 U.S. at 687.

      A reviewing court “must indulge in a strong presumption that counsel’s

conduct falls within the wide range of reasonable professional assistance.”

Galvan v. Cockrell, 293 F.3d 760, 764 (5th Cir. 2002) (citing Strickland, 466

U.S. at 689). Additionally, courts “must strongly presume that trial counsel

rendered adequate assistance and that the challenged conduct was the product

of a reasoned trial strategy.” Wilkerson v. Collins, 950 F.2d 1054, 1065 (5th

Cir. 1992). Accordingly, courts “must be highly deferential” to counsel’s

performance. Id.; see also Strickland, 466 U.S. at 689. Courts should make

every effort to eliminate the “distorting effects of hindsight.” Strickland, 466

U.S. at 689.

      Under the second prong of the Strickland test, a defendant must show

that his counsel’s deficient performance prejudiced him. Galvan, 293 F.3d at

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764. Thus, the defendant “must show that there is a reasonable probability

that, but for counsel’s unprofessional errors, the result of the proceeding would

have been different.” Strickland, 466 U.S. at 694. “Even a deficient

performance does not result in prejudice unless that conduct so undermined

the proper functioning of the adversary process that the trial cannot be relied

upon as having produced a just result.” Knox v. Johnson, 224 F.3d 470, 479

(5th Cir. 2000) (quoting Strickland, 466 U.S. at 687). A mere allegation of

prejudice is not sufficient to satisfy the prejudice prong of Strickland.

Armstead v. Scott, 37 F.3d 202, 206 (5th Cir. 1994). Because a defendant must

satisfy both prongs of the Strickland test, a failure to establish either deficient

performance or prejudice makes it unnecessary to examine the other prong.

Strickland, 466 U.S. at 697.

      Finally, this Court must presume the CCA applied Strickland when it

denied habeas relief. Singleton v. Johnson, 178 F.3d 381, 384 (5th Cir. 1999);

Schaetzle v. Cockrell, 343 F.3d 440, 443 (5th Cir. 2003). Furthermore, the

factual determinations underlying the adjudication are entitled to a

presumption of correctness which must be rebutted by a presentation of clear

and convincing evidence. 28 U.S.C. § 2254(e); Neal v. Puckett, 239 F.3d 683,

696 (5th Cir. 2001) (“[t]he only question for a federal habeas court is whether

the state court’s determination is ‘at least minimally consistent with the facts

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and circumstances of the case’”). Therefore, by denying these claims on the

findings of the state habeas court, the TCCA made both explicit and implicit,

credibility determinations in favor of trial counsel’s decisions and trial

strategies. SHCR at action taken sheet, 270–75 (state habeas court’s findings

and conclusions). Both explicit and implicit credibility choices made by a state

court are afforded a presumption of correctness under 28 U.S.C. § 2254(d). Self

v. Collins, 973 F.2d 1198, 1214 (5th Cir. 1992) (citing Lavernia v. Lynaugh, 845

F.2d 493, 500 (5th Cir. 1988)). And again, this presumption is especially strong

where the trial judge and the state habeas judge are the same, as they are in

this case (Honorable Craig Towson presided over both the trial and state

habeas proceedings). Miller-El, 261 F.3d at 449, 454; SHCR at 2, 8–9, 278–87.

      A.    The deficiency prong

      Here, Minze fails to demonstrate his trial attorney was deficient in not

challenging the juror for cause. The initial question when determining if

counsel was ineffective for failing to strike a biased juror is whether a

particular juror was actually biased. See Virgil v. Dretke, 446 F.3d 598, 608–

10 (5th Cir. 2006); Seigfried v. Greer, 372 F. App’x 536, 539 (5th Cir. 2010) (“In

conducting the deficient performance analysis in the context of counsel’s

failure to strike an allegedly partial juror, a court first evaluates whether the

juror at issue was actually biased.”). The Supreme Court defines an impartial

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juror as an “indifferent juror,” meaning, “a juror [that] can lay aside his

impression or opinion and render a verdict based on the evidence presented in

court.” Irvin v. Dowd, 366 U.S. 717, 722–23 (1961). Moreover, as explained

above, a federal habeas corpus court must initially presume that a jury was

impartial. See Smith v. Phillips, 455 U.S. 209, 218 (1982); De La Rosa, 743

F.2d at 306. Thus, the entire jury in Minze’s case, including the complained-of

juror, is presumed to be impartial, unless Minze demonstrates otherwise.

      To demonstrate actual bias, Minze must point to an “admission” or

present “factual proof” of bias on the juror’s part. United States v. Thomas, 627

F.3d 146, 161 (5th Cir. 2010) (citing United States v. Bishop, 264 F.3d 535, 554

(5th Cir. 2001)). A juror harbors an actual bias, such that he may be excluded

for cause, if his “views would prevent or substantially impair the performance

of his duties as a juror in accordance with his instructions and his oath.” Soria,

207 F.3d at 242 (quoting Wainwright v. Witt, 469 U.S. 412, 424 (1985)).3 Minze



3  Additionally, the trial court judge was in the best position to make this
determination. Uttecht v. Brown, 551 U.S. 1, 9 (2007) (citing Witt, 469 U.S. at 424–
434) (“[I]n determining whether the removal of a potential juror would vindicate the
State’s interest without violating the defendant’s right, the trial court makes a
judgment based in part on the demeanor of the juror, a judgment owed deference by
reviewing courts.”). “Deference to the trial court is appropriate because it is in a
position to assess the demeanor of the venire, and of the individuals who compose it,
a factor of critical importance in assessing the attitude and qualifications of potential
jurors.” Id. (citing Darden v. Wainwright, 477 U.S. 168, 178 (1986)). Thus, the trial
court’s decision in this case not to exclude a juror should be given deference over an

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has not demonstrated this specific claim, but rather merely cites the record out

of context and claims the juror was biased. ECF No. 1 at 6.

      But in this matter, the state habeas court found that the juror was not

biased, was not subject to be struck for cause, could consider Minze’s prior

conviction as it was an element of the current charge, and was not shown to

have disregarded the trial court’s instruction. SHCR at 281–82 (Finding Nos.

10, 11, 13, 15, 17). Furthermore, an attorney’s strategic decision not to use a

for-cause challenge should be afforded deference, especially here, when other

sections during the voir dire demonstrated a for-cause challenge would not be

granted because the juror was not truly biased. Canfield v. Lumpkin, 998 F.3d

242, 248 (5th Cir. 2021). Minze has failed to overcome the presumption of

correctness given to these findings or shown that the state court’s denial was

objectively unreasonable, not merely incorrect in his own eyes. Valdez, 274

F.3d at 948 n.11; Thomas v. Lumpkin, 995 F.3d 432, 440 (5th Cir. 2021).

      B.    The prejudice prong

      Minze also fails to demonstrate how trial counsel’s alleged deficiencies

prejudiced his case. To satisfy the prejudice prong of Strickland, Minze must

show that counsel’s errors were so serious as to deprive him of a fair trial, a



unsupported claim that a biased juror should have been struck for cause. SHCR at
271–72.

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trial whose result is reliable. Strickland, 466 U.S. at 687. Minze may not simply

allege, but must “affirmatively prove,” prejudice. Id. at 693. He must show that

as a result of trial counsels’ unprofessional errors, there exists a reasonable

probability that the result of the proceeding would have been different. Id. at

694; see Carter v. Johnson, 131 F.3d 452, 463 (5th Cir. 1997) (“In evaluating

claims of ineffective assistance during the guilt stage of trial, the petitioner

must show a ‘reasonable probability’ that the jury would have otherwise

harbored a reasonable doubt concerning guilt.”); Armstead, 37 F.3d at 207 (The

showing of prejudice must be “rather appreciable;” again, a mere allegation of

prejudice is not sufficient). Because Minze must satisfy both prongs of the

Strickland test, a failure to establish either deficient performance or prejudice

makes it unnecessary to examine the other prong. Strickland, 466 U.S. at 697;

Black v. Collins, 962 F.2d 394, 401 (5th Cir. 1992).

      The Second Court of Appeals summarized the testimony and evidence

presented to the jury, including how the evidence was sufficient to convict.

Minze, 2021 WL 2006474, at *1–2. The State presented the jury with Minze’s

prior conviction for family violence assault and the testimony of Minze’s victim

from both assaults. Id. Minze beat her with his belt, strangled her with a shirt

until she passed out, then branded her with his belt buckle heated by his

lighter. Id. at 1; 3 RR 59–63. His victim clearly established a legitimate fear

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that he would eventually kill her. 3 RR 68, 70–72; Brown v. Thaler, 684 F.3d

482, 499 (5th Cir. 2012) (when evidence of future dangerousness is

overwhelming, establishing prejudice is “virtually impossible. . . .”) (quoting

Ladd v. Cockrell, 311 F.3d 349, 360 (5th Cir. 2002). Based on the abundance of

evidence against him, Minze cannot establish prejudice, even had he

attempted to do so. ECF No. 1; ECF No. 2. For these reasons above and because

Minze failed to meet his AEDPA burden, his ineffective-assistance-of-trial-

counsel claim should be denied.

                               CONCLUSION

      For all of the foregoing reasons, the Director respectfully requests that

Minze’s petition for writ of habeas corpus be dismissed with prejudice and that

a certificate of appealability be denied.

                                      Respectfully submitted,

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                        CERTIFICATE OF SERVICE

     I do hereby certify that a true and correct copy of the above and foregoing

answer has been served by placing same in the United States Mail, postage

prepaid, on this the 6th day of September, 2022, addressed to:

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                                    s/ Lori Brodbeck
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